_* Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 1 of 30

&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Crimina] Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind./ Inf. X Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number
Search Warrant Case Number See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name David Sidoo Juvenile: [] Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No

Alias Name

Address (City & State) Vancouver, CA

Birth date (Yr only): 1959 SSN (last4#): Sex M Race: White Nationality: CA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [V]¥es []No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [| No
Matter to be SEALED: [| Yes No
{Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[_ ]Already in Federal Custody as of in

[Already in State Custody at [_ [Serving Sentence [waiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ |Complaint [| Information Indictment

Total # of Counts: | ]Petty a [_]Misdemeanor ——— Felony 8

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

oe Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

2 or Reverse

Page 2 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant David Sidoo

Index Key/Code
Set 1 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18U.S.C.§ 371 Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set 4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set 5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11, 12
Filing a False Tax Return 13

Set6 26 U.S.C. § 7206(1)

Set7 _28 U.S.C. § 2461(c)

Forfeiture

Set 8 18 U.S.C. § 981(a)(1)(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-63 10-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet. pdf 3/4/2013
3 Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 3 of 30

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. i Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind./Inf. _X Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information

R 20/R 40 from District of
Defendant Information:
Defendant Name Gregory Colburn Juvenile: [ ] Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Palo Alto, CA
Birth date (Yr only): 1957 SSN (last4#);_0184 Sex M Race: White Nationality: USA
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA __Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [V]yves[_]No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [ ]No

Matter to be SEALED: [| Yes No

(_ | Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[" ]Already in Federal Custody as of in

[Already in State Custody at [Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ |complaint [Information Indictment

Total # of Counts: [ ]Petty —— [_|Misdemeanor ee Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior prgceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 4 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Gregory Colbum

Index Key/Code
Set 1 1I8U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 _18US.C. § 37] Conspiracy to Commit Federal Programs Bribery 2

Set 3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set5 18U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set6 _26.U.S.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

Set 3 18 U.S.C. § 981(a)(1)(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
. Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 5 of 30

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind/Inf. x Case No. _19-10080-NMG
Same Defendant _X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK _
Search Warrant Case Number —_See additional information

R 20/R 40 from District of
Defendant Information:
Defendant Name _Amy Colburn Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No
Alias Name
Address (City & State) Palo Alto, CA
Birth date (Yr only): 1969 SSN (last4#):_5371 Sex W Race: White Nationality; USA
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [J Yes No List language and/or dialect:
Victims: [V]Yes [_]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [| No

Matter to be SEALED: [| Yes No

{| Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[Already in Federal Custody as of in

[_ ]Atready in State Custody at [_ serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [complaint | Information Indictment

Total # of Counts: [_ ]Petty —— [__]Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.
Date: 01/14/2020 Signature of AUSA: | ~

Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

2 or Reverse

Page 6 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Amy Colburn

Index Key/Code
Set | 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest

Services Mail & Wire Fraud

Count Numbers

Set2 18U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting 4-10

Set 5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set 6 26 U.S.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

SetZ 18 U.S.C. § 981(a\(1(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

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3
Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 7 of 30

&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

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Criminal Case Cover Sheet U.S, District Court - District of Massachusetts

Place of Offense: Category No. !E Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind/Inf. _X Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information

R 20/R 40 from District of
Defendant Information:
Defendant Name Gamal Abdelaziz Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [ | Yes No
Alias Name
Address (City & State) Las Vegas, NV
Birth date (Yr only): !956 SSN (last4#); 4560 Sex M Race: White Nationality: USA
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [V]lves [ ] No Ifyes, are there multiple crime victims under 18 USC§3771(d)}(2) Yes [| No
Matter to be SEALED: [] Yes No
(" }Warrant Requested Regular Process [ ] In Custody
Location Status:
Arrest Date
[_ ]Already in Federal Custody as of in
[_ ]Already in State Custody at [Serving Sentence . | lAwaiting Trial
[Jon Pretrial Release: Ordered by: on
Charging Document: [| Complaint [| Information Indictment
Total # of Counts: [_ ]Petty ——— L_]Misdemeanor —_ Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 8 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Gamal Abdelaziz

Index Key/Code
Set 1 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 2

Set 3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set 6 26 U.S.C. § 7206(1)

Set 7 28 U.S.C. § 2461(c)

Forfeiture

Set 8 18 U.S.C. § 981 (a)(1(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 9 of 30

wis (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind/ Inf. _X Case No. _19-10080-NMG

Same Defendant X New Defendant
Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number _See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name _Diane Blake Juvenile: [] Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name

Address (City & State) San Francisco, CA

Birth date (Yr only): 1965 SSN (last4#);_9175 Sex W Race: White Nationality: USA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [Y]¥es[” ]No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [ ]No

Matter to be SEALED: [| Yes No

{_ ]Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[Already in Federal Custody as of in

[Already in State Custody at [_ ]Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [complaint C] Information Indictment

Total # of Counts: [_ ]Petty _—_— L_IMisdemeanor — Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

Case 1:19-cr-10080-N

MG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 10 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Diane Blake

Index Key/Code
Set | 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 180U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set 5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set6 26U.S.C. § 7206(1)

Set 7 28 U.S.C. § 2461(c)

Forfeiture

Set § 18 U.S.C. § 981(a)(1(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
fos Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 11 of 30

&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts
Place of Offense: Category No. Investigating Agency FBI
City _Boston Related Case Information:
County _Middlesex Superseding Ind./Inf. _X Case No. _19-10080-NMG
Same Defendant X New Defendant
Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name Todd Blake Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [J Yes No

Alias Name

Address (City & State) San Francisco, CA

Birth date (Yr only): 1965 SSN (last4#):_ 4272 Sex M Race: White Nationality; USA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [Y]¥es[_]No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [_]No

Matter to be SEALED: [| Yes No

(_}Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[_ ]Already in Federal Custody as of in

[Already in State Custody at [_ ]Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: []complaint [information Indictment

Total # of Counts: [_]Petty —— [_]Misdemeanor —_ Felony

Continue on Page 2 for Entry of U.S.C. Citations

[hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

A Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

2 or Reverse

Page 12 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Todd Blake

Index Key/Code

Set] 18U.S.C. 1349

U.S.C, Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18U.S.C. § 371

Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10
Federal Programs Bribery; Aiding and Abetting

Set 5 18 U.S.C. §§ 666(a)(2) and 2 11,12
Filing a False Tax Return 13

Set6 26 U.S.C. § 7206(1)

Set 7 28 U.S.C. § 2461(c)

Forfeiture

Setg 18 U.S.C. § 981(a)(IXC)

Forfeiture

Set 9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 1S.

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/201

3
Lo Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 13 of 30

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet

U.S. District Court - District of Massachusetts

Place of Offense:

City Boston

County _Middlesex

Category No.

Superseding Ind./Inf. _X
Same Defendant
Magistrate Judge Case Number
Search Warrant Case Number

Investigating Agency FBI

Related Case Information:

Case No.

19-10080-NMG

x New Defendant
19-MJ-6087-MPK

See additional information

R 20/R 40 from District of

Defendant Information:

Defendant Name _I-Hsin "Joey" Chen Juvenile: [] Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name

Address (City & State) Newport Beach, CA

Birth date (Yr only): 1954 SSN (last4#):_1777 Sex M

Defense Counsel if known:

Race: Asian Nationality: USA

Address

Bar Number

U.S. Attorney Information:

AUSA Eric S. Rosen
Interpreter: [| Yes No
Victims:
Matter to be SEALED: [| Yes No
(Warrant Requested Regular Process

Location Status:

Arrest Date

List language and/or dialect:

[V]ves[_]|No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2)

Bar Number if applicable _NY4412326

Yes

[| In Custody

[_ ]Already in Federal Custody as of

in

[_ ]Already in State Custody at

[Serving Sentence

[_|No

[Awaiting Trial

[Jon Pretrial Release: Ordered by: on
Charging Document: [ |complaint [| Information Indictment
Total # of Counts: [| Petty [Misdemeanor ——— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are

accurately set forth above.

Date: 01/14/2020

Signature of AUSA:

Case 1:19-cr-10080-N

I$ 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

MG Document 732-1 Filed 01/14/20

2 or Reverse

Page 14 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant ]-Hsin "Joey" Chen

Index Key/Code
Set 1  18U.S.C. 1349

U.S.C, Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set 4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set 5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set6 26 U.S.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

Set 8 18 U.S.C. § 981(a)(1)(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

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Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 15 of 30

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

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Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind/ Inf. * Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK _
Search Warrant Case Number See additional information

R 20/R 40 from District of
Defendant Information:
Defendant Name _Mossimo Giannulli Juvenile: [_] Yes [¥] No
Is this person an attorney and/or a member of any state/federal bar: [ ] Yes No
Alias Name
Address (City & State) Los Angeles, CA
Birth date (Yr only): 1966 SSN (last4#);_ 8718 Sex M Race: White Nationality: USA
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [ ] Yes No List language and/or dialect:
Victims: [VlYes [| No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [ ] No

Matter to be SEALED: [| Yes No

{Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[Already in Federal Custody as of in

[_|Already in State Custody at [_ JServing Sentence [Awaiting Trial
[Jon Pretrial Release: © Ordered by: on

Charging Document: L] Complaint EJ Information Indictment

Total # of Counts: [Petty —_ [_|Misdemeanor —_ Felony 1B

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 16 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Mossimo Giannulli

Index Key/Code
Set 1 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Birbery 2

Set 3 18 U.S.C. § 1956(h) Mondey Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set6 26 U.S.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

Set § 18 U.S.C. § 981(a)IXC)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
tos Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 17 of 30

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. _ll Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind./Inf. _X Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name _Lori Loughlin Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [] Yes No

Alias Name

Address (City & State) Los Angeles, CA

Birth date (Yr only): 1964 SSN (last4#);_7715 Sex W Race: White Nationality; USA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [ ] Yes No List language and/or dialect:
Victims: [V]¥es[~]No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [_]No

Matter to be SEALED: [ | Yes No

{ ]Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[ Already in Federal Custody as of in

[_ ]Already in State Custody at [Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ ]complaint [information Indictment
Total # of Counts: []Petty ——_—_ [_]Misdemeanor ——— Felony

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

he Case 1:19-cr-10080-N

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

MG Document 732-1 Filed 01/14/20

2 or Reverse

Page 18 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Lori Loughlin

Index Key/Code
Set 1 180U.S.C, 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail Fraud

Count Numbers

Conspiracy to Commit Federal Programs Bribery

Set2 18U.S.C. § 371 2

Set 3 _18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set6 26US.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

Set § 18 U.S.C. § 981(aX INC)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 19 of 30

JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. i Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind/Inf. _X Case No. _19-10080-NMG
Same Defendant xX New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name Elisabeth Kimmel Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [ ] Yes No

Alias Name

Address (City & State) Las Vegas, NV

Birth date (Yr only): 1964 SSN (last4#); 8114 Sex W Race: White Nationality: USA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA __Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [ ] Yes No List language and/or dialect:
Victims: [VlYes [No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [| No

Matter to be SEALED: [] Yes No

[ ]Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[_ ]Already in Federal Custody as of in

[Already in State Custody at [_ [Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [| Complaint [| Information Indictment

Total # of Counts: [_ |Petty ——_—_—_ [ “|Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

UM Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 20 of 30

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/45) Page 2 of 2 or Reverse

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Elisabeth Kimmel

U.S.C. Citations

Index Key/Code Description of Offense Charged Count Numbers

Conspiracy to Commit Mail & Wire Fraud & Honest

Set] _18 U.S.C. 1349 Services Mail & Wire Fraud I

Set2 180U.S.C. §37]1 Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundrering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. § 981(a)(IC) Abetting. 4-10

Set5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12

Set6 26 U.S.C. § 7206(1) Filing a False Tax Return 13

Set 7 28 U.S.C. § 2461(c) Forfeiture

SetR 18 U.S.C. § 981{a)(1}(C) Forfeiture

Set9 18 U.S.C. § 982(a)(1) Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 21 of 30

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Hl Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind./Inf. _X Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name _William McGlashan, Jr. Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name

Address (City & State) Mill Valley, CA

Birth date (Yr only): 1963 SSN (last4#);_8399 Sex M Race: White Nationality: USA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [I Yes No List language and/or dialect:
Victims: [V]¥es [No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [ ] No

Matter to be SEALED: [ ] Yes No
{| Warrant Requested Regular Process [ | In Custody

Location Status:

Arrest Date

[_ ]Already in Federal Custody as of in

[_ JAtready in State Custody at [_ |Serving Sentence [waiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ |complaint [ |Information Indictment

Total # of Counts: [Petty —_ [__]Misdemeanor —a Felony

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior progeedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

a Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 22 of 30

District Court Case Number (To be fil

led in by deputy clerk): 19-10080-NMG

Name of Defendant William McGlashan

Index Key/Code

Set] 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 180U.S.C. § 371

Conspiracy to Commit Federal Programs Bribery

2
Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &
Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting 4-10
Set5 18U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set6 26 U.S.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

Set 8 18 U.S.C. § 981(a)(1)(C)

Forfeiture

Set 9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/20

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- Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 23 of 30
@&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Hl Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind./ Inf. _X Case No. _19-10080-NMG
Same Defendant _X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information

R 20/R 40 from District of
Defendant Information:
Defendant Name Marci Palatella Juvenile: [J Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Hillsborough, CA
Birth date (Yr only): 1955 SSN (last4#);_ 5012 Sex _W Race: White Nationality: USA
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA _Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [| Yes No List language and/or dialect:
Victims: [V]ves[]No Ifyes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [_|No

Matter to be SEALED: [] Yes No
{ ]Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[_ ]Already in Federal Custody as of in

[_ ]Already in State Custody at [_|Serving Sentence [Awaiting Trial
[Jon Pretrial Release: | Ordered by: on

Charging Document: [_]complaint CT] Information Indictment
Total # of Counts: [_ ]Petty —_ [_]Misdemeanor _ Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

.- Case 1:19-cr-10080-N

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

MG Document 732-1 Filed 01/14/20

2 or Reverse

Page 24 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Marci Palatella

Index Key/Code

Set] 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 2

Set 3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set 4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set 5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11, 12
Filing a False Tax Return 13

Set6 26 U.S.C. § 7206(1)

Set 7 28 U.S.C. § 2461(c)

Forfeiture

Set 8 18 U.S.C. § 981(a)(1)(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

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. Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 25 of 30

&JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Investigating Agency FBI

City _Boston Related Case Information:

County Middlesex Superseding Ind./ Inf. X Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name John Wilson Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [7] Yes No

Alias Name

Address (City & State) Hyannis Port, MA

Birth date (Yr only): !959 SSN (last4#);_ 0685 Sex M Race: White Nationality: USA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA _Etic S. Rosen Bar Number if applicable _NY4412326
Interpreter: [J Yes No List language and/or dialect:
Victims: [Vl¥es [_]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [| No

Matter to be SEALED: [| Yes No

{ ]Warrant Requested Regular Process [] In Custody

Location Status:

Arrest Date

[Already in Federal Custody as of in

[Already in State Custody at [_ |Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ |complaint [] Information Indictment

Total # of Counts: [ ]Petty ————— [_]Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

tw Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 26 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant John Wilson

Index Key/Code
Set1  18U.S.C. 1349

U.S.C. Citations

Description of Offense Charged

Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18 U.S.C. §§ 1341 & 1346, 2 Abetting 4-10

Set5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set 6 26 U.S.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

Set 3 18 U.S.C. § 981(a))(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
” Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 27 of 30

@JS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind/Inf. x Case No. _19-10080-NMG
Same Defendant X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information

R 20/R 40 from District of
Defendant Information:
Defendant Name _Homayoun Zadeh Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No
Alias Name
Address (City & State) Calabasas, CA
Birth date (Yr only); 1961 SSN (last4i#);_4306 Sex M Race: White Nationality: USA
Defense Counsel if known: Address
Bar Number
U.S. Attorney Information:
AUSA __Eric S. Rosen Bar Number if applicable _NY¥4412326
Interpreter: [ | Yes No List language and/or dialect:
Victims: [V]¥es [No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [| No

Matter to be SEALED: [] Yes No

{Warrant Requested Regular Process [] In Custody

Location Status:

Arrest Date

[_|Already in Federal Custody as of in

[_Jatready in State Custody at [__]Serving Sentence [Awaiting Trial
[Jon Pretrial Release: Ordered by: on

Charging Document: [ |complaint [Information Indictment

Total # of Counts: [" |Petty —_-— [__|Misdemeanor —_— Felony

Continue on Page 2 for Entry of U.S.C. Citations

I hereby certify that the case numbers of any prior progeedings before a Magistrate Judge are
accurately set forth above.

Date: 01/14/2020 Signature of AUSA:

ae Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 28 of 30

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of

2 or Reverse

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Homayoun Zadeh

Index Key/Code
Set! 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18U.S.C. § 371

Conspiracy to Commit Federal Program Bribery 2

Set 3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set4 18U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set5 18 U.S.C. §§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set6 26 U.S.C. § 7206(1)

Set7 28 U.S.C. § 2461(c)

Forfeiture

Set 8 18 U.S.C. § 981(a)(1)(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set I]

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: 18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, !8-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
. Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20 Page 29 of 30

@JS§ 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)

Criminal Case Cover Sheet U.S. District Court - District of Massachusetts

Place of Offense: Category No. ll Investigating Agency FBI

City _Boston Related Case Information:

County _Middlesex Superseding Ind./ Inf. _X Case No. _19-10080-NMG
Same Defendant _X New Defendant

Magistrate Judge Case Number 19-MJ-6087-MPK
Search Warrant Case Number See additional information
R 20/R 40 from District of

Defendant Information:

Defendant Name _Robert Zangrillo Juvenile: [| Yes No
Is this person an attorney and/or a member of any state/federal bar: [| Yes No

Alias Name

Address (City & State) Miami Beach, FL

Birth date (Yr only): 1966 SSN (last4#);_8400 Sex M Race: White Nationality: USA

Defense Counsel if known: Address

Bar Number

U.S. Attorney Information:

AUSA Eric S. Rosen Bar Number if applicable _NY4412326
Interpreter: [ | Yes No List language and/or dialect:
Victims: [V Yes [_]No If yes, are there multiple crime victims under 18 USC§3771(d)(2) Yes [| No

Matter to be SEALED: [] ves No

{| Warrant Requested Regular Process [| In Custody

Location Status:

Arrest Date

[Already in Federal Custody as of in

[ |Already in State Custody at [ |Serving Sentence [Awaiting Trial
[lon Pretrial Release: Ordered by: on

Charging Document: [ |complaint [Information Indictment

Total # of Counts: [ ]Petty —_—— [_|Misdemeanor —— Felony

Continue on Page 2 for Entry of U.S.C. Citations

Thereby certify that the case numbers of any prior pr
accurately set forth above.

edings before a Magistrate Judge are

Date: 01/14/2020 Signature of AUSA:

<a» Case 1:19-cr-10080-NMG Document 732-1 Filed 01/14/20

JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse

Page 30 of 30

District Court Case Number (To be filled in by deputy clerk): 19-10080-NMG

Name of Defendant Robert Zangrillo

Index Key/Code
Set 1 18 U.S.C. 1349

U.S.C. Citations

Description of Offense Charged
Conspiracy to Commit Mail & Wire Fraud & Honest
Services Mail & Wire Fraud

Count Numbers

Set2 18 U.S.C. § 371 Conspiracy to Commit Federal Programs Bribery 2

Set3 18 U.S.C. 1956(h) Money Laundering Conspiracy 3
Wire Fraud & Honest Services Wire Fraud; Aiding &

Set 4 18 U.S.C. §§ 1341 & 1346, 2 Abetting. 4-10

Set 5 _18 U.S.C. $§ 666(a)(2) and 2 Federal Programs Bribery; Aiding and Abetting 11,12
Filing a False Tax Return 13

Set 6 26 U.S.C. § 7206(1)

Set 7 28 U.S.C. § 2461(c)

Forfeiture

Set 8 18 U.S.C. § 981(aX1)(C)

Forfeiture

Set9 18 U.S.C. § 982(a)(1)

Money Laundering Forfeiture

Set 10

Set 11

Set 12

Set 13

Set 14

Set 15

ADDITIONAL INFORMATION: _18-6218-MPK, 18-6237-MPK, 18-6236-MPK, 18-6234-MPK, 18-6238-MPK

18-6235-MPK, 18-6476-MPK, 18-6477-MPK, 18-6475-MPK, 18-6478-MPK, 18-6261-MPK, 18-6260-MPK

19-6003-MPK, 19-6005-MPK, 19-6004-MPK, 19-6006-MPK, 18-6240-MPK, 18-6310-MPK, 18-6474-MPK, 18-6474-MPK

18-7227-MPK, 19-6029-MPK, 19-6030-MPK

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